Case 3:18-cv-00286-BJB-CHL Document 1 Filed 05/08/18 Page 1 of 39 PageID #: 1




                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF KENTUCKY
                                  LOUISVILLE DIVISION

 UNITED STATES OF AMERICA and the States
 of GEORGIA, FLORIDA, TENNESSEE,
 INDIANA, NORTH CAROLINA, IOWA,                     Case No.:
 COLORADO, OKLAHOMA, TEXAS and
 VIRGINIA and BEYERLY POWELL,

                         Plaintiff/Relator,
                                                                     MAY ~~'~'O
 v.
                                                                U.S. CISTRIC!9~!}:rw
 AEROCARE HOLDINGS , INC.                                      WEST'N. OISt l\CA I UV•"
                          Defendant.
 - - -- - - - - - - - - - - -I

                       COMPLAINT PURSUANT TO THE
                FEDERAL FALSE CLAIMS ACT (31U.S.C.§3730(b)(2))

       COMES NOW, UNITED STATES OF AMERICA ex rel. BEVERLY POWELL

("Relator"), and hereby submits the following Complaint under seal in accordance with the

requirements of the Federal False Claims Act, 31 U.S .C. §3730(b)(2), the Colorado Medicaid

False Claims Act. Col. Rev. Stat. § 25.54-303.5 through 25 .5-4-3 10; the Florida False Claims

Act, Fla. Stat. §68.081 et seq.; the Georgia State False Medicaid Claims Act. Ga. Code §49-4-

168, et seq.; the Indiana False Claims and Whistleblower Protection Act, Bums Ind. Code Ann.

§5--.11-5.5. et seq.; the Iowa False Claims Law, Iowa Code § 685.1 et seq.; the North Carolina

False Claims Act, N.C. Gen. Stat. § 1-605 ci seq.; the Oklahoma Medicaid False Claims Act, 63

Okla. Stat. §§5053, et seq.;the Tennessee Medicaid False Claims Act, Tenn. Code Ann. §71 -5-

181, et seq. ;: the Tennessee False Claim Act, Tenn. Code Ann.    §4~18-101 ,   et seq.; the Texas

Medicaid Fraud Prevention Act, Tex. Hum, Res. Code, §36.001. et seq.; and the Virginia Fraud

Against Taxpayers Act, Va. Code Ann. §§ 8.01-216.1 , et seq.




                                          Page 1of39
Case 3:18-cv-00286-BJB-CHL Document 1 Filed 05/08/18 Page 2 of 39 PageID #: 2




I.     INTRODUCTION

       1.      This matter involves the submission of false claims for payment made to and paid

by Medicare and Medicaid, and perhaps other federally-funded government healthcare programs,

for oxygen tank contents (referring to oxygen tanks) that were never delivered to beneficiaries.

       2.      Relator began working for Premier Home Care ("PHC") in June 2000 as an

accounts receivable ("AR") Specialist and grew with the company, eventually becoming a

Revenue Cycle Manager in 2012, a position she currently holds .

       3.        In November 2016, PHC was purchased by Defendant AeroCare Holdings, Inc.

("Defendant").     Soon after the purchase, Defendant sent in a transition team led by their

Regional Reimbursement Manager Sheri Mounce. When Relator first met Sheri Mounce, she

was assured Defendant operated much like PHC in the sense that the policy of the company was

to do everything by the book. Prior to being bought by Defendant, PHC always made sure the

required documents, such as the Certificate of Medical Necessity ("CMN"), Detailed Written

Order ("DWO"), etc, were on file prior to dispensing any prescribed equipment or supplies.

       4.        Relator quickly realized the assurances provided by Sheri Mounce were nothing

more than talking points and that Defendant operated much differently than PHC had done in the

past. Defendant quickly put a policy in place that oxygen customers were never, or very rarely,

turned away, regardless of whether the customer qualified for services under Medicare

guidelines.

       5.        As Relator and others were being trained on the new software system Defendant

used, known as Brightree, she noticed Defendant was billing code E0443 on a recurring basis.

This is the portable refill code used in Medicare billing after Medicare has paid the 36th month

rental for oxygen and equipment. This code would normally be billed when a customer who uses




                                           Page 2of39
Case 3:18-cv-00286-BJB-CHL Document 1 Filed 05/08/18 Page 3 of 39 PageID #: 3




portable oxygen is given refills, or tanks .

         6.     Defendant is purposely adding code E0443 to every Medicare oxygen customer to

bill every month after the 36th month, regardless of whether oxygen tank contents are actually

delivered. Thus, Defendant ensures profitability by billing Medicare continually and from each

location for oxygen tank contents on an automatic basis.

         7.     Based on the Federal False Claims Act and those state counterparts referenced

herein, Relator seeks to recover damages and civil penalties arising from the false or fraudulent

records, statements, and/or claims that the Defendant made or caused to be made by billing

Medicare, Medicaid, and other government-funded healthcare programs for medically

unnecessary and/or phantom oxygen services and supplies.

II.      PARTIES

      A. Relator

         8.     Under the FCA, a person with knowledge of false or fraudulent claims against the

government (a "rel ator") may bring an action on behalf of the government and himself. Relator is

an original source of information within the meaning of the federal False Claims Act, 31 U.S.C.

§ 3730(e)(4)(B).

         9.     Beverly Powell is a resident of Sellersburg, Indiana. Ms. Powell began working

for Defendant in November 2016 when it purchased the company she was working for, Premier

Home Care.

         10.    Ms. Powell currently holds the position of Revenue Cycle Manager with

Defendant.

      B. Defendant

         11.    Defendant, AeroCare Holdings, Inc. , is a state of Delaware Corporation,




                                               Page 3of39
Case 3:18-cv-00286-BJB-CHL Document 1 Filed 05/08/18 Page 4 of 39 PageID #: 4




incorporated on October 9, 2002 with active registration #3568419. The Registered Agent for the

corporation is listed as The Corporation Trust Company, Corporation Trust Center, 1209 Orange

Street, Wilmington, Delaware 19801. The corporation is headquartered at 3325 Bartlett Blvd,

Orlando, FL 32811 , and it is registered with the state of Florida as a Foreign Profit Corporation.

Stephen P. Griggs is listed as the President and Joseph Russell is listed as Vice President/Chief

Financial Officer.

        12.     Defendant operates under a variety of names, such as Matrix Medical, Encore

Respiratory, Alliance Oxygen, Hobbs Home Medical, North Georgia Respi-Care, Quality Plus,

Twin Rivers Respiratory Care, Hometown Respiratory Consulting, All American Oxygen,

Respicare, Inc. and Atlantic Medical to name a few, and operates in numerous states such as

Florida, Georgia, Alabama, Arkansas, Tennessee, Indiana, Kentucky, North Carolina, West

Virginia, Iowa, Colorado, Oklahoma, Missouri, Pennsylvania, Texas, and Virginia. In 2015 the

company reported annual revenue of $150 million. 1

III. JURISDICTION AND VENUE

        13.     Jurisdiction is proper in this Court because Relator seeks remedies on behalf of

the United States for multiple violations of 31 U.S .C. §3729.

        14.     This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S .C. §§ 1331 , 1345.

        15.     Relator has made voluntary disclosures to the government prior to the filing of

this lawsuit as required by 31 U.S .C. §3 730(b )(2).

        16.     This Court has personal jurisdiction over Defendants because as described herein

they transact business in this District and because the acts complained of herein occurred in this


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https://www.goodwinlaw.com/news/20 1411Oil0 27 14-goodwi n-represents-aerocare-in-merger-with-
mergeworthrx


                                              Page 4of39
Case 3:18-cv-00286-BJB-CHL Document 1 Filed 05/08/18 Page 5 of 39 PageID #: 5




District.

        17.    Venue is proper in this District pursuant to 31 U.S.C. §3732(a) because Defendant

transacts business in this District, and because the acts alleged herein to be in violation of 31

U.S.C. §3729 occurred in this District.

IV. COST REPORTING AND CLAIMS PROCESSING PROCEDURES UNDER THE
MEDICARE PROGRAM

        18.    In 1965, Congress enacted the Health Insurance for the Aged and Disabled Act,

42 U.S.C. § 1395, et seq., known as the Medicare Program, as part of Title XVIII of the Social

Security Act, to pay for the costs of certain health care services. Entitlement to Medicare is based

on age, disability, or affliction with end-stage renal disease. See 42 U.S .C. §§ 426, 426-1.

        19.    Reimbursement for Medicare claims is made by the United States through the

Centers for Medicare and Medicaid Services ("CMS"), which is an agency of the Department of

Health and Human Services ("HHS") and is directly responsible for the administration of the

Medicare Program.

        20.    CMS contracts with private companies, referred to as "fiscal intermediaries," to

administer and pay claims from the Medicare Trust Fund. 42 U.S .C. § 1395(u). In this capacity,

the fiscal intermediaries act on behalf of CMS. 42 C.F.R. § 413.64. Under their contracts with

CMS, fiscal intermediaries review, approve, and pay Medicare bills, called "claims," received

from medical providers. Those claims are paid with federal funds.

        21 .   There are two primary components to the Medicare Program, Part A and Part B.

Medicare Part A authorizes payment for institutional care, including hospitals, skilled nursing

facilities, and home health care. 42 U.S.C. § 1395c-1395i-5. Medicare Part B is a federally

subsidized, voluntary insurance program that covers a percentage of the fee schedule for

physician services as well as a variety of medical and other services to treat medical conditions



                                           Page 5of39
Case 3:18-cv-00286-BJB-CHL Document 1 Filed 05/08/18 Page 6 of 39 PageID #: 6




or prevent them. 42 U.S.C. §§ 1395j-1395w-5. The allegations herein involve Medicare Part B

services billed by the Defendants to Medicare.

       22.     In order to get paid from Medicare, providers, like Defendants herein, complete

and submit a claim for payment on a designated Health Insurance Claim Form, which, during the

relevant time period, was or has been designated CMS 1500. This form contains patient-specific

information including the diagnosis and types of services that are assigned or provided to the

Medicare patient. The Medicare Program relies upon the accuracy and truthfulness of the CMS

1500 to determine whether and what amounts the provider is owed. Relator is aware that

Defendant created claims that were sent electronically to Medicare.

       23.     To this end, the Health Insurance Claim Form, CMS 1500, contains the following

certification by the physician or supplier submitting a claim to Medicare:

        I certify that the services shown on this form were medically indicated and
        necessary for the health of the patient and were personally furnished by me or
        were furnished incident to my professional service by my employee under my
        immediate personal supervision, except as otherwise expressly permitted by
        Medicare or CHAMPUS regulations.

       24.     That certification is then followed by the following "Notice":

       Anyone who misrepresents or falsifies essential information to receive payment
       from Federal funds requested by this form may upon conviction be subject to fine
       and imprisonment under applicable Federal laws.

   V. CONDITIONS OF PARTICIPATION AND PAYMENT

       25.     To participate in the Medicare Program, a health care provider must also file a

provider agreement with the Secretary of HHS. 42 U.S .C. § 1395cc. The provider agreement

requires compliance with certain requirements that the Secretary deems necessary for

participating in the Medicare Program and for receiving reimbursement from Medicare.

       26.     As a precondition for participation in federally funded healthcare programs,

including Medicare and Medicaid, providers are required to be truthful in submitting claims for


                                          Page 6of39
Case 3:18-cv-00286-BJB-CHL Document 1 Filed 05/08/18 Page 7 of 39 PageID #: 7




reimbursement. See, e.g., 42 C.F.R. §§ 1003.105, 1003.102(a)(l)-(2).

   A. Medical Necessity and Appropriateness Requirements

       27.     One such important requirement for participating in the Medicare Program is that

for all claims submitted to Medicare, claims may be submitted only when medical goods and

services are (1) shown to be medically necessary, and (2) are supported by necessary and

accurate information. 42 U.S.C. § 1395y(a)(l)(A),(B); 42 C.F.R., Part 483 , Subpart B; 42 C.F.R.

§ 489.20.

       28.     Various claims forms, including but not limited to the Health Insurance Claim

Form, require that the provider certify that the medical care or services rendered were medically

"required," medically indicated and necessary and that the provider is in compliance with all

applicable Medicare laws and regulations . 42 U.S.C. § 1395n(a)(2); 42 U.S.C. § 1320c-5(a); 42

C.F.R §§ 411.400, 411.406 . Providers must also certify that the information submitted is correct

and supported by documentation and treatment records. Id.; see also, 42 U.S .C. § 1320c-5(a); 42

C.F.R. § 424.24.

   B. Obligation to Refund Overpayments

       29.     As another condition to participation in the Medicare Program, providers are

affirmatively required to disclose to their fiscal intermediaries material omissions or errors they

become aware in their claims for reimbursement from federal healthcare programs including

Medicare and Medicaid. 42 C.F.R. §§ 401.601(d)(iii), 411.353(d); 42 C.F.R. Part 405, Subpart

C. See also 42 C.F.R. §§ 489.40, 489.31. In fact, under 42 U.S.C. § 1320a-7b(a)(3), providers

have a clear, statutorily-created duty to disclose any known overpayments or billing errors to the

Medicare carrier, and the failure to do so is a felony. Providers ' contracts with CMS carriers or

fiscal intermediaries also require providers to refund overpayments.      42 U.S .C. § 1395u; 42




                                           Page 7of39
Case 3:18-cv-00286-BJB-CHL Document 1 Filed 05/08/18 Page 8 of 39 PageID #: 8




C.F.R. § 489.20(g).

       30.     Accordingly, if CMS pays a claim for medical goods or services that were not

medically necessary, a refund is due and a debt is created in favor of CMS.             42 U .S.C. §

1395u(l)(3). In such cases, the overpayment is subject to recoupment. 42 U .S.C. § 1395gg.

CMS is entitled to collect interest on overpayments. 42 U .S.C. § 1395l(j).

   VI. OTHER FEDERALLY-FUNDED HEALTH CARE PROGRAMS

       31.     Although false claims to Medicare are the primary FCA violations at issue in this

case, there were patients enrolled in one of two other federally-funded health care benefit

programs - Medicaid and TRICARE.            Accordingly, those other two programs are briefly

discussed as well.

       32.     TRICARE is a federal program, established by 10 U .S.C. §§ 1071-1110, that

provides health care benefits to eligible beneficiaries, which include, among others, active duty

service members, retired service members, and their dependents.             Although TRICARE is

administered by the Secretary of Defense, the regulatory authority establishing the TRICARE

program provides reimbursement to individual health care providers applying the same

reimbursement requirements and coding parameters that the Medicare program applies. 10

U.S.C. §§ 1079(j)(2) (institutional providers), (h)(l) (individual health care professionals) (citing

42 U.S.C. § 1395, et seq.).

       33 .    Like Medicare, TRICARE will pay only for "medically necessary services and

supplies required in the diagnosis and treatment of illness or injury." 32 C.F.R. § 199 .4( a)(l )(i).

And, like the Medicare Program, TRICARE prohibits practices such as submitting claims for

services that are not medically necessary. 32 C.F.R. §§ 199.9(b)(3)-(b)(5).




                                            Page 8of39
Case 3:18-cv-00286-BJB-CHL Document 1 Filed 05/08/18 Page 9 of 39 PageID #: 9




      VII. RULES GOVERNING PAYMENT FOR RESPIRATORY EQUIPMENT
      SPECIFICALLY

           34.      Medicare pays for home oxygen therapy equipment for patients with certain

documented medical conditions. See Medicare National Coverage Determinations Manual, Pub.

100-03, § 240.2. This action does not allege any violations of Medicare regulations regarding a

patient's qualifications for oxygen therapy. Rather, the allegations are limited to the billing for

oxygen tank contents that were never provided to the patient.

           35.      Since 2007, Medicare has paid suppliers on a monthly basis to rent oxygen

equipment to beneficiaries. Payment for accessories (e.g., cannula, tubing, etc.), delivery, back-

up equipment, maintenance, and repairs is included in the rental allowance. Payment for oxygen

contents (stationary and/or portable) is included in the allowance for stationary equipment

(E0424, E0439, E1390, E1391). 2 Medicare covers 80% of the lesser of (1) the actual charge for

the oxygen equipment, or (2) the fee schedule amount for the equipment.           Beneficiaries are

responsible for the remaining 20% co-pay. See 42 U.S.C. §1395m(a); 42 C.F.R. §414.226.

           36.      The supplier who provides oxygen equipment for the first month must continue to

provide any necessary oxygen equipment and all related items and services through the 36-

month rental period, unless one of the following exceptions is met: ( 1) the beneficiary relocates

temporarily or permanently outside of the supplier's service area, or (2) the beneficiary elects to

obtain oxygen from a different supplier.

           37.      Medicare caps monthly rental payments to suppliers of home oxygen equipment

at 36 months of continuous use. However, there are patients who need continuous use of oxygen

equipment. In that case, the supplier of the equipment must continue to furnish the oxygen and

oxygen equipment, without additional rental payments, for the remainder of the reasonable


2
    https://oig.hhs.gov/oei/reports/oei-09-04-00420.pdf


                                                    Page 9of39
Case 3:18-cv-00286-BJB-CHL Document 1 Filed 05/08/18 Page 10 of 39 PageID #: 10




 useful lifetime of the equipment (24 more months). After the 36th month, Medicare will pay for

 both stationary oxygen contents (E0441 or E0442) and portable oxygen contents (E0443 or

 E0444) if the beneficiary is using that equipment during the 36th rental month. During this 24

 month period, suppliers may receive additional payments for delivering oxygen contents and

 providing standard maintenance.

          38.     During this period, the supplier's records must adequately document that the

 equipment and any related supplies were actually delivered to the beneficiary. Suppliers are

 required to maintain proof of delivery ("POD") for seven years, and provide such proof to

 Medicare upon request.           POD serves to assist in determining correct coding and billing

 information for claims submitted to Medicare, Medicaid, and other government funded

 healthcare programs for reimbursement.

          39.     The POD must include (1) the beneficiary's name and address, (2) the delivery

 date, (3) a sufficiently detailed description to identify the item(s) being delivered, (4) the quantity

 delivered, and (5) the beneficiary' s signature and date of signature.

 IV.      THE NATURE OF THE CASE

          40.     The Center for Medicare and Medicaid Services ("CMS") statistics showed that in

 20 15 approximately $6.5 billion was spent on Durable Medical Equipment ("DME") in the

 United States.3 Of that amount, approximately $1.5 billion was spent on oxygen and related

 supplies. This is actually a decrease from 2014, but remains a significant amount of taxpayer

 funds being spent on oxygen therapy.

       A. Medicare for Billing for Oxygen Equipment

          41.     In order to bill Medicare for stationary contents or portable contents, certain


 3
  https://www.cms.gov/Research-S tati stics-Data-and-S ystems/Statistics-T rends-and-Reports/CMS -Statistics-
 Reference-Booklet/Downloads/20 l 5CMSStatistics. pdf


                                                  Page 10of39
Case 3:18-cv-00286-BJB-CHL Document 1 Filed 05/08/18 Page 11 of 39 PageID #: 11




 requirements must be met by the supplier:

                 (1) Before dispensing refills, the supplier must contact the
                     patient no sooner than 14 days before delivery date to ensure
                     that the refilled item remains reasonable and necessary, ensure
                     that existing supplies are approaching exhaustion and confirm
                     any changes to the order.
                 (2) The supplier must contact the treating physician to verify
                     that any changed or atypical use is warranted.
                 (3) The supplier must deliver refills in a quantity that does not
                     exceed the patient's expect use, no sooner than 10 calendar
                     days before end of usage for the current product.
                 (4) The supplier must obtain a delivery slip for the actual
                     delivery date. 4

         42.     Relator has first-hand knowledge that Defendant is not meeting the Medicare

 requirements with a majority of their customers. Specifically, Defendant has implemented a

 scheme where each customer who has received oxygen equipment and supplies past the 36th

 month is set up on an automatic billing system where Medicare is billed monthly using code

 E0443 . This billing occurs even where the beneficiary does not receive the oxygen contents.

         43.     Relator also has personal knowledge of a scheme implemented by Defendant in

 early 2017 following Defendant's purchase of MediHome, a DME company with offices in

 Kentucky and Tennessee. The Louisville, Kentucky billing office was given the task of adding

 many of the rentals or "assets" purchased by Defendant from MediHome into the customer

 accounts within the Brightree software system. The billing office added hundreds of pieces of

 equipment on hundreds of customers. The list was made up of Medicare, Medicaid and other

 third party insurers.

         44.     Employees were directed by Defendant to add the billing code for the equipment

 within the system carte blanche and bill for it. Defendant knew that there was no documentation,

 no Detailed Written Order (DWO), and no revised Certificate of Medical Necessity (CMN)

 4
  https://www.cms.gov/Outreach-and-Education/Medicare-Leaming-Network-
 MLN/MLNProducts/Downloads/Home-Oxygen-Therapy-Text-Only. pdf


                                             Page 11 of 39
Case 3:18-cv-00286-BJB-CHL Document 1 Filed 05/08/18 Page 12 of 39 PageID #: 12




 showing Defendant as the servicing provider, even though this is a Medicare requirement that

 must be met prior to billing commencing. Defendant billed Medicare and others for hundreds of

 pieces of equipment, including CP AP devices, for months with total disregard for the rules in

 place requiring the aforementioned documentation.

        45.     Relator believes that one of Defendant's marketers, Tracie Dillon, is using Home

 Sleep Study devices she has ownership in order to qualify Medicare beneficiaries for CPAP

 equipment and supplies in direct violation of the Stark Law. It is also believed that Tracie Dillon

 is violating the Anti-Kickback statute by providing gifts and other benefits to referrals she

 receives. Relator can elaborate on these allegations further in an interview.

        46.     The Kentucky Board of Pharmacy requires an annual DWO for all customers on

 portable oxygen, yet Defendant continues to bill even when the annual DWO has not been

 received. Relator estimates that 90%, or more, of the portable oxygen customers are having their

 government health insurance billed without an updated annual DWO. Relator knows that

 Defendant is in direct violation of state guidelines which are required to be followed in order to

 maintain Medicare contracts, yet they are purposely not following the guidelines as agreed.

        4 7.    When Relator was being trained on the Brightree software system used by

 Defendant, she became aware that Defendant holds Medicare claims at the first of the year using

 what they refer to as a "deductible hold". This "deductible hold" is hardcoded within the

 Brightree software system used by Defendant and is in place so that their customer's deductible

 will be met by another provider before they attempt to bill Medicare.

    B. Defendant Billed Medicare for Oxygen Contents Never Delivered

        48 .    During her employment with Defendant since her employer, PHC, was acquired,

 Relator has identified the following small sample of patients who have had their Medicare billed




                                           Page 12of39
Case 3:18-cv-00286-BJB-CHL Document 1 Filed 05/08/18 Page 13 of 39 PageID #: 13




 for oxygen contents monthly, which they have never received, using code E0443. These samples

 include customers from the Jeffersonville, Indiana, Louisville 02 and Lexington, Kentucky

 branches which were purchased by Defendant prior to the purchase of PHC. These examples are

 representative of the larger scheme being perpetrated by Defendant companywide. Supportive

 documentation is in the possession of Realtor's counsel and has been provided to the

 government; additional names and evidence are available and will be provided to the government

 at the appropriate time:

             i. Medicare Patient A: An account statement for Medicare Patient A shows dates

                of service from June 9, 2015 through January 9, 2018. During this timeframe, a

                total of 32 months, Medicare was billed on the 9th of each month for which no

                oxygen content refills were ever delivered to Medicare Patient A and no

                documentation required by Medicare was maintained in the customer's file.

                Medicare payments were received by Defendant on the following dates for

                oxygen that was simply not provided:

                              0612912015                  $43.12
                              07/27/2015                  $43.12
                              08/26/2015                  $43.12
                              0912512015                  $43.12
                              1012612015                  $43.12
                              11 /25/2015                 $43.12
                              12/09/2015                  $54.69
                              12/28/2015                  $43.12
                              0212512016                  $35 .19
                              0312512016                  $43.12
                              04/27/2016                  $43.12
                              0512512016                  $43.12
                              06/27/2016                  $43.12
                              07/27/2016                  $39.11
                              08/ 18/2016                 $54.47
                              08/24/2016                  $39.11


                                            Page 13of39
Case 3:18-cv-00286-BJB-CHL Document 1 Filed 05/08/18 Page 14 of 39 PageID #: 14




                           09/28/2016                    $39.11
                           10/26/2016                    $39.11
                           11 /29/2016                   $39.11
                           12/2912016                    $39.11

             Additional payments were received from Medicare by Defendant throughout 2017

             and into 2018. The total amount billed during the period of service was $4,500.00,

             with payments made by Medicare totaling $1 ,213.49.

          ii. Medicare Patient B: An account statement for Medicare Patient B shows dates

             of service from February 1, 2016 through January 1, 2018. During this timeframe,

             a total of 17 months, Medicare was billed monthly on the 5th of each month for

             which no oxygen content refills were ever delivered to Medicare Patient B and no

             documentation required by Medicare was maintained in the customer' s file .

             Medicare payments were received by Defendant on the following dates for

             oxygen that was not provided:

                           07/13/2016                    $54.27
                           07/2112016                    $41.52
                           08/24/2016                    $41.52
                           09/2112016                    $41.52
                           10/2112016                    $41.52
                           11 /23/2016                   $41.52
                           12/2112016                    $41.52
                           02/08/2017                    $41 .25
                           02/22/2017                    $41.25

             Additional payments were received from Medicare by Defendant throughout

             2017. The total amount billed during the period of service was $2,200.00, with

             payments made by Medicare totaling $650.97. It should be noted that on

             November 7, 2017, Defendant was required to write off an amount previously

             billed as the Date of Death of Medicare Patient B preceded the Date of Service


                                         Page 14of39
Case 3:18-cv-00286-BJB-CHL Document 1 Filed 05/08/18 Page 15 of 39 PageID #: 15




              that had been automatically billed to Medicare.     This was not an uncommon

              situation.

          iii. Medicare Patient C : An account statement for Medicare Patient C shows dates

              of service from February 1, 2016 through February 1, 2018. During this

              timeframe, a total of 24 months, Medicare was billed monthly on the 26th of each

              month for which no oxygen content refills were ever delivered to Medicare

              Patient C and no documentation required by Medicare was maintained in the

              customer's file. Medicare payments were received by Defendant on the following

              dates for oxygen that was not provided:

                            05/16/2016                   $54.27
                            06/10/2016                   $54.27
                            07/13/2016                   $54.27
                            08/11 /2016                  $41.52
                            09/14/2016                   $41.52
                            10/12/2016                   $41.52
                            11/14/2016                   $41.52
                            12/ 14/2016                  $41.52

              Additional payments were received from Medicare by Defendant throughout

              2017. The total amount billed during the period of service was $2,900.00, with

              payments made by Medicare totaling $990.57.

          iv. Medicare Patient D: An account statement for Medicare Patient D shows dates

              of service from June 1, 2015 through February 1, 2018. During this timeframe, a

              total of 32 months, Medicare was billed monthly on the 11th of each month for

              which no oxygen content refills were ever delivered to Medicare Patient D and no

              documentation required by Medicare was maintained in the customer's file.




                                          Page 15of39
Case 3:18-cv-00286-BJB-CHL Document 1 Filed 05/08/18 Page 16 of 39 PageID #: 16




             Medicare payments were received by Defendant on the following dates for

             oxygen that was not provided:

                           06/29/2015                   $43.12
                           07/29/2015                   $43 .12
                           08/28/2015                   $43.12
                           09/30/2015                   $43.12
                           10/28/2015                   $43.12
                           11 /30/2015                  $43.12
                           12/30/2015                   $43.12
                           02/29/2016                   $10.56
                           03/03/0216                   $43.12
                           04/27/2016                   $43.12

             Additional payments were received from Medicare by Defendant through June

             2017. The total amount billed during the period of service was $4,500.00, with

             payments made by Medicare totaling $830.38.

          v. Medicare Patient E: An account statement for Medicare Patient E shows dates of

             service from October 1, 2016 through February 1, 2018. During this timeframe, a

             total of 16 months, Medicare was billed monthly on the 12th of each month for

             which only one oxygen content refill was ever delivered to Medicare Patient E

             and only one delivery ticket, dated October 12, 2016, as required by Medicare,

             was maintained in the customer's file. Medicare payments were received by

             Defendant on the following dates for oxygen that was not provided:

                           11/30/2016                   $39.11
                           12/29/2016                   $39.11
                           05/05/2017                   $12.99
                           06/01 /2017                  $39.11
                           06/28/2017                   $39.11
                           07/28/2017                   $39.11
                           08/30/2017                   $39.11
                           09/28/2017                   $39.11
                           10/30/2017                   $39.11


                                         Page 16of39
Case 3:18-cv-00286-BJB-CHL Document 1 Filed 05/08/18 Page 17 of 39 PageID #: 17




                            11129/2017                   $39.11
                            12/19/2017                   $39.11

              The total amount billed during the period of service was $1,600.00, with

              payments made by Medicare totaling $443.20.

          vi. Medicare Patient F: An account statement for Medicare Patient F shows dates of

              service from July 1, 2015 through February 1, 2018. During this timeframe, a

              total of 32 months, Medicare was billed monthly on the 4th of each month for

              which no oxygen content refills were ever delivered to Medicare Patient F and no

              documentation required by Medicare was maintained in the customer's file.

              Medicare payments were received by Defendant on the following dates for

              oxygen that was not provided:

                            10/21 /2015                  $43.12
                            11/19/2015                   $43.12
                            12/23/2015                   $43 .12
                            02/ 17/2016                  $49.38
                            03/23/2016                   $43.12
                            04/20/2016                   $43.12
                            05/20/2016                   $43.12
                            06/22/2016                   $43.12
                            07/2112016                   $34.55

              Additional payments were received from Medicare by Defendant throughout

              2017. The total amount billed during the period of service was $4,400.00, with

              payments made by Medicare totaling $850.01.

         vii. Medicare Patient G: An account statement for Medicare Patient G shows dates

              of service from October 1, 2015 through February 1, 2018. During this timeframe,

              a total of 28 months, Medicare was billed monthly on the 19th of each month for

              which no oxygen content refills were ever delivered to Medicare Patient G and no



                                          Page17of39
Case 3:18-cv-00286-BJB-CHL Document 1 Filed 05/08/18 Page 18 of 39 PageID #: 18




              documentation required by Medicare was maintained in the customer's file.

              Medicare payments were received by Defendant on the following dates for

              oxygen that was not provided :

                            10/31/2016                   $43.12
                            10/31/2016                   $43.12
                            10/31 /2016                  $43.12
                            10/31/2016                   $43.12
                            10/31 /2016                  $43.12
                            10/31 /2016                  $43.12
                            10/31/2016                   $43 .12
                            10/31 /0216                  $43.12
                            10/31 /2016                  $43 .1 2
                            10/31 /2016                  $39. 11
                            10/31/2016                   $39.11
                            10/31/2016                   $39.11
                            11 /03/20 16                 $39.11
                            12/07/2016                   $39.11
                            01 /05/20 17                 $39.11

              Additional payments were received from Medicare by Defendant through July 6,

              2017. The total amount billed during the period of service was $3, 100.00, with

              payments made by Medicare totaling $9 11.90.

         viii. Medicare Patient H: An account statement for Medicare Patient H shows dates

              of service from August 1, 2015 through February 1, 2018. During this timeframe,

              a total of 30 months, Medicare was billed monthly on the 14th of each month for

              which no oxygen content refills were ever delivered to Medicare Patient H and no

              documentation required by Medicare was maintained in the customer's file .

              Medicare payments were received by Defendant on the following dates for

              oxygen that was not provided:

                             11 /06/2015                 $60.72
                             11 /06/2015                 $60.72


                                           Page 18of39
Case 3:18-cv-00286-BJB-CHL Document 1 Filed 05/08/18 Page 19 of 39 PageID #: 19




                            11 /06/2015                   $60.72
                            12/02/2015                    $60.72
                            12/30/2015                    $60.72
                            02/12/2016                    $52.35
                            03/02/2016                    $52.35
                            03/30/2016                    $52.35
                            05/02/2016                    $52.35
                            06/02/2016                    $52.35

              Additional payments were received from Medicare by Defendant through

              February 4, 2018. The total amount billed during the period of service was

              $4,000.00, with payments made by Medicare totaling $1, 141.92.

          ix. Medicare Patient I: An account statement for Medicare Patient A shows dates of

              service from October 1, 2016 through February 1, 2018. During this timeframe, a

              total of 16 months, Medicare was billed monthly on the 13th of each month for

              which no oxygen content refills were ever delivered to Medicare Patient I and no

              documentation required by Medicare was maintained in the customer's file.

              Medicare payments were received by Defendant on the following dates for

              oxygen that was not provided :

                            10/31/2016                    $39.11
                            11/30/2016                    $39.11
                            12/29/2016                    $39.11
                            02/21/2017                    $39.11
                            03/07/2017                    $39.11
                            03/29/2017                    $39.11
                            05/01 /2017                   $39.11
                            06/01 /2017                   $39.11
                            06/29/2017                    $39.11

              Additional payments were received from Medicare by Defendant through January

              31, 2018. The total amount billed during the period of service was $1,600.00, with

              payments made by Medicare totaling $625.76.


                                          Page 19of39
Case 3:18-cv-00286-BJB-CHL Document 1 Filed 05/08/18 Page 20 of 39 PageID #: 20




          x. Medicare Patient J: An account statement for Medicare Patient J shows dates of

              service from June 1, 2014 through February 1, 2018. During this timeframe, a

              total of 44 months, Medicare was billed monthly on the 9th of each month for

              which no oxygen content refills were ever delivered to Medicare Patient J and no

              documentation required by Medicare was maintained in the customer's file.

              Medicare payments were received by Defendant on the following dates for

              oxygen that was not provided :

                            09/03/2014                   $43 .12
                            09/03/2014                   $43 .12
                            09/04/2014                   $43 .12
                            09/25/2015                   $43. 12
                            10/27/2014                   $43. 12
                            11 /26/2014                  $43. 12
                            12/26/2014                   $43.12
                            01 /05/2015                  $53.88
                            02/05/2015                   $43 .12
                            02/25/2015                   $43 .12

              Additional payments were received from Medicare by Defendant through

              February 1, 2018. The total amount billed during the period of service was

              $6,900.00, with payments made by Medicare totaling $1,630.80.

          xi. Medicare Patient K: An account statement for Medicare Patient K shows dates

              of service from December 1, 2016 through February 1, 2018. During this

              timeframe, a total of 14 months, Medicare was billed monthly on the 14th of each

              month for which no oxygen content refills were ever delivered to Medicare

              Patient K and no documentation required by Medicare was maintained in the

              customer's file. Medicare payments were received by Defendant on the following

              dates for oxygen that was not provided:



                                          Page 20of39
Case 3:18-cv-00286-BJB-CHL Document 1 Filed 05/08/18 Page 21 of 39 PageID #: 21




                           12/30/2016                    $39.11
                           03/07/2017                    $14.88
                           03/30/2017                    $39.11
                           05/03/2017                    $39.11
                           06/01 /2017                   $39.11
                           06/30/2017                    $39.11
                           08/02/2017                    $39.11
                           08/30/2017                    $39.11
                           10/02/2017                    $39.11
                           11 /01/2017                   $39.11
                           11 /30/2017                   $39.11

             Additional payments were received from Medicare by Defendant through January

             31, 2018. The total amount billed during the period of service was $1,400.00, with

             payments made by Medicare totaling $45 1.16.

         xii. Medicare Patient L: An account statement for Medicare Patient L shows dates of

             service from June 1, 2015 through February 1, 2018. During this timeframe, a

             total of 32 months, Medicare was billed monthly on the 15th of each month for

             which no oxygen content refills were ever delivered to Medicare Patient L and no

             documentation required by Medicare was maintained in the customer's file.

             Medicare payments were received by Defendant on the following dates for

             oxygen that was not provided:

                            08/28/2015                   $43.12
                            08/28/2015                   $43. 12
                            09/09/2015                   $43.12
                            10/01 /2015                  $43.12
                            11 /02/2015                  $43.12
                            12/02/2015                   $43.12
                            12/31 /2015                  $43.12
                            03/30/2016                   $36.83
                            03/30/2016                   $43.12
                            03/30/2016                   $43.12
                            05/04/2016                   $43.12


                                          Page 21of39
Case 3:18-cv-00286-BJB-CHL Document 1 Filed 05/08/18 Page 22 of 39 PageID #: 22




                              06/02/2016                   $43.12
                              07/01 /2016                  $43.12

               Additional payments were received from Medicare by Defendant through January

               31, 2018. The total amount billed during the period of service was $4,500.00, with

               payments made by Medicare totaling $1 ,280.51.

          xiii. Medicare Patient M: An account statement for Medicare Patient M shows dates

               of service from December 1, 2016 through February 1, 2018. During this

               timeframe, a total of 14 months, Medicare was billed monthly on the 25th of each

               month for which no oxygen content refills were ever delivered to Medicare

               Patient M and no documentation required by Medicare was maintained in the

               customer' s file. Medicare payments were received by Defendant on the following

               dates for oxygen that was not provided :

                              01/11 /2017                  $41.52
                              04/12/2017                   $34.95
                              05/11/2017                   $41.25
                              06/12/2017                   $41.25
                              07/12/2017                   $41 .25
                              08/10/2017                   $41 .25
                              09/13/2017                   $41.25
                              10/11 /2017                  $41.25
                              10/15/2017                   $ 9.60
                              11110/2017                   $41.25
                              12/13/2017                   $41 .25
                              01/11 /2018                  $41 .25

               The total amount billed during the period of service was $1,400.00, with

               payments made by Medicare totaling $457.32.

        49.    Relator has found and provided evidence that shows Defendants have operated a

  scheme to defraud Medicare since at least 2014, and very possibly prior to then. Based upon



                                            Page 22of39
Case 3:18-cv-00286-BJB-CHL Document 1 Filed 05/08/18 Page 23 of 39 PageID #: 23




 Relator's experience working for Defendant, Relator believes this scheme is companywide and

 systemic and that Defendant has implemented the scheme in every location it has in at least 16

 states.

           50.    While the underlying scheme involves relatively small amounts, Relator estimates

 this scheme to defraud Medicare could very easily have cost taxpayers millions of dollars over

 the life of the scheme, based on the number of locations operated by Defendant and the length of

 time which customers required services. Defendant continues to commit fraud to this day.

 V.        THE FEDERAL FALSE CLAIMS ACTS

           51.    The Federal FCAs, as amended, provide in pertinent part that:

           [A]ny person who (A) knowingly presents, or causes to be presented, a false or
           fraudulent claim for payment or approval ; (B) knowingly makes, uses, or causes
           to be made or used, a false record or statement material to a false or fraudulent
           claim; ... or (G) knowingly makes, uses, or causes to be made or used, a false
           record or statement material to an obligation to pay or transmit money or property
           to the Government, or knowingly conceals or knowingly and improperly avoids or
           decreases an obligation to pay or transmit money or property to the Government,
           is liable to the United States Government for a civil penalty of not less than
           $5,500 and not more than $11 ,000, as adjusted by the Federal Civil Penalties
           Inflation Adjustment Act of 1990 . .. plus 3 times the amount of damages which the
           Government sustains because of the act of that person. 31 U.S.C. § 3729(a)(l).

           52.    The terms "knowing" and "knowingly" in the FCA provision above "mean that a

 person, with respect to information (1) has actual knowledge of the information; (2) acts in

 deliberate ignorance of the truth or falsity of the information; or (3) acts in reckless disregard of

 the truth or falsity of the information." 31 U.S .C. § 3729(b)(l)(A). No proof of specific intent to

 defraud is required. 31 U.S .C. § 3729(b)(l)(B).

 VI.       FEDERAL ANTI-KICKBACK LAWS

           53.    The federal anti-kickback statute, also known as AKS , arose out of Congressional

  concern that providing things of value to those who can influence healthcare decisions may




                                             Page 23of39
Case 3:18-cv-00286-BJB-CHL Document 1 Filed 05/08/18 Page 24 of 39 PageID #: 24




 corrupt their professional judgment and result in federal funds being diverted to pay for goods

 and services that are medically unnecessary, of poor quality, or even harmful to a vulnerable

 patient population.

        54.       The AKS prohibits the payment of kickbacks in order to protect the integrity of

 Medicare, TRICARE, and other federal healthcare programs. See Social Security Amendments

 of 1972, Pub. L. No. 92-603 , §§ 242(b) and (c); 42 U.S.C. § 1320a-7b, Medicare-Medicaid

 Antifraud and Abuse Amendments, Pub. L. No. 95-142; Medicare and Medicaid Patient and

 Program Protection Act of 1987, Pub. L. No. 100-93.

        55.       The AKS prohibits any person or entity from soliciting, receiving, offering, or

 paying any remuneration to induce a person to, or reward a person for referring, recommending,

 or arranging for the purchase of any item for which payment may be made in whole or in part by

 a federal health care program. In pertinent part, the statute provides, under (b) Illegal

 remunerations:

        (1) Whoever knowingly and willfully solicits or receives any remuneration
        (including any kickback, bribe, or rebate) directly or indirectly, overtly or
        covertly, in cash or in kind-
                (A) in return for referring an individual to a person for the furnishing or
        arranging for the furnishing of any item or service for which payment may be
        made in whole or in part under a Federal health care program, or
                (B) in return for purchasing, leasing, ordering, or arranging for or
        recommending purchasing, leasing, or ordering any good, facility, service, or item
        for which payment may be
        made in whole or in part under a Federal health care program, shall be guilty of a
        felony and upon conviction thereof, shall be fined not more than $25,000 or
        imprisoned for not more than five years, or both.
        (2) Whoever knowingly and willfully offers or pays any remuneration (including
        any kickback, bribe, or rebate) directly or indirectly, overtly or covertly, in cash
        or in kind to any person to induce such person-
                (A) to refer an individual to a person for the furnishing or arranging for the
        furnishing of any item or service for which payment may be made in whole or in
        part under a Federal health care program, or
                 (B) to purchase, lease, order or arrange for or recommend purchasing,
        leasing or ordering any good, facility, service, or item for which payment may be



                                           Page 24of39
Case 3:18-cv-00286-BJB-CHL Document 1 Filed 05/08/18 Page 25 of 39 PageID #: 25




          made in whole or in part under a Federal health care program, shall be guilty of a
          felony and upon conviction thereof, shall be fined not more than $25,000 or
          imprisoned for not more than five years, or both. 42 U.S.C. § 1320a-7b(b ).

          56.    The AKS not only prohibits outright bribes to a physician, but also prohibits

 offering or paying for any remuneration to a physician that has, as one purpose, inducement of

 the physician's referrals to federal health care programs. Claims that include items or services

 resulting from a violation of the AKS are false or fraudulent under the FCA. 42 U.S.C. § 1320a-

 7b(g).

          57.    The Office of Inspector General for the United States Department of Health and

 Human Services ("HHS-OIG") has published safe harbor regulations that define arrangements

 that are not subject to the AKS because the practice would be unlikely to result in fraud or abuse.

 Safe harbor protection is afforded only to those arrangements that precisely meet all of the

 conditions set forth in the safe harbor.

          58.    One such statutory safe harbor protects some arrangements between an entity and

 an independent contractor, but only if the arrangement meets all seven standards. Specifically,

 the arrangement must (1) be in writing and signed by the parties; (2) cover all services provided

 by the independent contractor, and specify those services; (3) for part-time work, set forth the

 schedule, length, and exact charge for the intervals of work; (4) span at least one year; (5) set in

 advance the aggregate compensation, which must be fair market value and not be determined in a

 manner that takes into account the volume or value of any referrals or business otherwise

 generated between the parties; (6) not involve services that involve the counseling or promotion

 of a business arrangement or other activity that violates any State or Federal law; and (7) cover

 aggregate services that do not exceed those reasonably necessary to accomplish the

 commercially reasonable purpose of the services. 42 C.F.R. § 1001.952(d).




                                            Page 25of39
Case 3:18-cv-00286-BJB-CHL Document 1 Filed 05/08/18 Page 26 of 39 PageID #: 26




         59.    On March 23 , 2010, President Obama signed the Patient Protection and

 Affordable Care Act (PP ACA) into law. The PP A CA changed the language of the Anti-

 Kickback Statute to provide that claims submitted in violation of the statute automatically

 constitute false claims for purposes of the False Claims Act. The new language provides that "a

 claim that includes items or services resulting from a violation of [the Anti-Kickback Statute]

 constitutes a false or fraudulent claim for purposes of subchapter III of chapter 37 of Title 31 [the

 False Claims Act]." 42 U.S.C. § 1320a-7b(g).

 VII.    THE STARK LAW

         60.    Enacted as amendments to the Social Security Act, the Stark Law prohibits an

 entity from submitting a claim to Medicare for "designated health services" that were referred to

 the entity by a physician who has a "financial relationship" with the entity, unless a statutory

 exception applies. 42 U.S .C. §§ 1395nn. The Stark Law is a strict liability statute, and was

 designed specifically to prevent losses that might be suffered by the Medicare program due to

 questionable utilization of designated health services.

         61.    In particular, the Stark Law provides, in pertinent part regarding prohibition of

 referrals:

         (A) the physician may not make a referral to the entity for the furnishing of
         designated     health services for which payment otherwise may be made under
         this subchapter, and
         (B) the entity may not present or cause to be presented a claim under this
         subchapter or bill to any individual, third party payor, or other entity for
         designated health services    furnished pursuant to a referral prohibited under
         subparagraph (A) .

 42 U.S.C. § 1395nn(a)(l).

         62.    "Designated health services" include physical therapy services, occupational

 therapy services, and home health services. 42 U .S.C. § 1395nn(h)(6).

         63 .   A "financial relationship" includes a "compensation arrangement," which means


                                            Page 26of39
Case 3:18-cv-00286-BJB-CHL Document 1 Filed 05/08/18 Page 27 of 39 PageID #: 27




  any arrangement involving any remuneration paid directly or indirectly to a referring physician.

  See 42 U.S.C. §§ 1395nn(h)(l)(A) and (h)(l)(B).

         64.     The Stark Law explicitly states that Medicare will not pay for designated health

  services billed by a healthcare provider when the designated health services resulted from a

 prohibited referral. See 42 U.S.C. § 1395nn(g)(l). In addition, the regulations implementing the

  Stark Law expressly require that any entity collecting payment for a healthcare service

  "performed under a prohibited referral must refund all collected amounts on a timely basis." 42

  C.F.R. § 411.353 (2006) .

         65.     The Stark Law and its compamon regulations contain exceptions for certain

  compensation arrangements. These include exceptions for "Personal Services Arrangements," 42

  U.S.C. § 1395nn(e)(3), 42 C.F.R. § 411.357(d), and for "Fair Market Value Compensation," 42

  C.F.R. § 411.357(1).

         66.     Like the "Personal Services and Management Contracts" safe harbor under the

  AKS , both the "Personal Services Arrangements" and the "Fair Market Value Compensation"

  exceptions to the Stark Law require, among other things, that: (1) the compensation be consistent

  with fair market value, and not determined in any manner that takes into account the volume or

  value of the physician's referrals; (2) the arrangement be "commercially reasonable" and further

  the legitimate business purposes of the parties; and (3) the services performed under the

  arrangement not involve the counseling or promotion of a business arrangement or other activity

  that violates a Federal or State law. 42 U .S.C. § 1395nn(e)(3), 42 C.F.R. §§ 411.357(d), (1).

     VIII. CLAIMS FOR RELIEF

                                    FIRST CAUSE OF ACTION
                                    Presentation of False Claims
                                      31U.S.C.§3729(a)(l)(A)




                                             Page 27of39
Case 3:18-cv-00286-BJB-CHL Document 1 Filed 05/08/18 Page 28 of 39 PageID #: 28




        67.       Relator repeats and incorporates by reference the allegations contained m

 paragraphs 1 through 66.

        68.       By and through the fraudulent schemes described herein, Defendants knowingly

 presented or caused to be presented false or fraudulent claims to the United States for payment or

 approval.

        69.       Specifically, Defendants systematically billed Medicare, Medicaid, and other

 government insurance programs for oxygen content supplies that were never delivered to

 beneficiaries.

         70.      Defendants acted with no regard for medical necessity. They also acted with

 complete dishonesty while billing for DME that was delivered to the patient.

         71.      Defendants ' fraudulent actions described herein have resulted in damage to the

 United States equal to the amount paid or reimbursed by the United States through Medicare,

 Tricare or other government insurance programs,.


                                SECOND CAUSE OF ACTION
               Making or Using False Record or Statement to Cause Claim to be Paid
                                    31U.S.C.§3729(a)(l)(B)

         72.      Relator repeats and incorporates by reference the allegations contained m

 paragraphs 1 through 66.

         73.      As particularly set forth in the foregoing paragraphs, by virtue of the acts alleged

 herein the Defendants have knowingly made, used, or caused to be made or used, false records or

 statements material to false or fraudulent claims in violation of31U.S.C.§3729(a)(l)(B).

         74.      Defendants knowingly made or used false records or statements material to a false

 or fraudulent claim or to get a false or fraudulent claim paid or approved by the United States, to

 wit:



                                             Page 28of39
Case 3:18-cv-00286-BJB-CHL Document 1 Filed 05/08/18 Page 29 of 39 PageID #: 29




        (a) false claims for DME and supplies that was never actually provided;

        (b) false records indicating that the DME and supplies billed for was Medically

        necessary;

        (c) false certifications that patients were compliant and therefore eligible for DME and

        supplies; and

        (d) false certifications regarding past, present, or future compliance with a prerequisite

        for payment or reimbursement by the United States through Medicare or Medicaid.

        75.      By virtue of the false records or statements Defendants made or used, the United

 States Government paid claims it otherwise would not have or should not have and has suffered

 substantial monetary damages.

                                  THIRD CAUSE OF ACTION
                            Colorado Medicaid Fraud Prevention Act
                            Col. Rev. Stat. §§ 25.5-4-305(a)-(b) and (f)

        76.     Relator repeats and incorporates by reference the allegations contained m

 Paragraphs 1 through 66 of this Complaint as if fully set forth herein.

        77.     This is a claim for treble damages and penalties under the Colorado Medicaid

 False Claims Act, Col. Rev. Stat. §§ 25 .5-4-303 .5 through 25.5-4-301.

        78.     By virtue of the acts described above, Defendant knowingly presented or caused

 to be presented, false or fraudulent claims for payment or approval.

        79.     By virtue of the acts described above, Defendant knowingly made, used, or

 caused to be made or used, false records and statements, material to false and fraudulent claims.

        80.     By virtue of the acts described above, Defendant knowingly concealed and

 improperly avoided or decreased an obligation to pay money to the State of Colorado in

 connection with the Colorado Medical Assistance Act.




                                           Page 29of39
Case 3:18-cv-00286-BJB-CHL Document 1 Filed 05/08/18 Page 30 of 39 PageID #: 30




        81.     The Colorado State Government, unaware of the falsity of the records, statements,

 and claims made, used, presented, or caused to be made, used, or presented by Defendant, paid

 and continues to pay the claims that would not be paid but for Defendant's unlawful conduct.

        82.     By reason of Defendant' s acts, the Colorado State Government has been

 damaged, and continues to be damaged, in a substantial amount to be determined at trial.

        83.     Additionally, the Colorado State Government is entitled to the maximum penalty

 of up to $11,000 for each and every violation alleged herein.

                                FOURTH CAUSE OF ACTION
                                     Florida False Claims Act
                               Fla. Stat.§§ 68-082(2)(a)-(b) and (f)

        84.     Relator repeats and incorporates by reference the allegations contained m

 Paragraphs 1 through 66 of this Complaint as if fully set forth herein.

        85 .    This is a claim for treble damages and penalties under the Florida False Claims

 Act, Fla. Stat. §§ 68-081 through 68-092.

        86.     By virtue of the acts described above, Defendant knowingly presented or caused

 to be presented, false or fraudulent claims for payment or approval.

        87.     By virtue of the acts described above, Defendant knowingly made, used, or

 caused to be made or used, false records and statements, material to false and fraudulent claims.

        88 .    By virtue of the acts described above, Defendant knowingl y concealed and

 improperly avoided or decreased an obligation to pay money to the State of Florida.

        89.     The Florida State Government, unaware of the falsity of the records, statements,

 and claims made, used, presented, or caused to be made, used, or presented by Defendant, paid

 and continues to pay the claims that would not be paid but for Defendant's unlawful conduct.

        90.     By reason of Defendant' s acts, the Florida State Government has been damaged,




                                             Page 30of39
Case 3:18-cv-00286-BJB-CHL Document 1 Filed 05/08/18 Page 31 of 39 PageID #: 31




 and continues to be damaged, in a substantial amount to be determined at trial.

        91.     Additionally, the Florida State Government is entitled to the maximum penalty of

 up to $11 ,000 for each and every violation alleged herein.

                                FIFTH CAUSE OF ACTION
                              Georgia False Medicaid Claims Act
                         Ga. Code Ann. §§ 49-4-168.l(a)(l)-(2), and (7)

        92.     Relator repeats and incorporates by reference the allegations contained m

 Paragraphs 1 through 66 of this Complaint as if fully set forth herein.

        93.     This is a claim for treble damages and penalties under the Georgia False Medicaid

 Claims Act, Ga. Code Ann. §§ 49-4-168 et seq.

        94.     By virtue of the acts described above, Defendant knowingly presented or caused

 to be presented to the Georgia Medicaid program, false or fraudulent claims for payment or

 approval.

        95 .    By virtue of the acts described above, Defendant knowingly made, used, or

 caused to be made or used, fal se records and statements, material to false and fraudulent claims.

        96.     By virtue of the acts described above, Defendant knowingly concealed and

 improperly avoided or decreased an obligation to pay money to the State of Georgia.

        97.     The Georgia State Government, unaware of the falsity of the records, statements,

 and claims made, used, presented, or caused to be made, used, or presented by Defendant, paid

 and continues to pay the claims that would not be paid but for Defendant's unlawful conduct.

        98.     By reason of Defendant's acts, the Georgia State Government has been damaged,

 and continues to be damaged, in a substantial amount to be determined at trial.

        99.     Additionally, the Georgia State Government is entitled to the maximum penalty of

 up to $11 ,000 for each and every violation alleged herein.




                                           Page 31 of 39
Case 3:18-cv-00286-BJB-CHL Document 1 Filed 05/08/18 Page 32 of 39 PageID #: 32




                                 SIXTH CAUSE OF ACTION
                    Indiana False Claims and Whistleblower Protection Act
                           Ind. Code§§ 5-11-5.5-2(b)(l)-(2), and (8)

        100.    Relator repeats and incorporates by reference the allegations contained m

 Paragraphs 1 through 64 of this Complaint as if fully set forth herein.

        101.    This is a claim for treble damages and penalties under the Indiana False Claims

 and Whistleblower Protection Act, Ind. Code §§ 5-11-5 .5-1 et seq.

        102.    By virtue of the acts described above, Defendant knowingly presented or caused

 to be presented, false or fraudulent claims for payment or approval.

        103 .   By virtue of the acts described above, Defendant knowingly made, used, or

 caused to be made or used, false records and statements, material to false and fraudulent claims.

        104.    By virtue of the acts described above, Defendant knowingly concealed and

 improperly avoided or decreased an obligation to pay money to the State of Indiana.

        105.    The Indiana State Government, unaware of the falsity of the records, statements,

 and claims made, used, presented, or caused to be made, used, or presented by Defendant, paid

 and continues to pay the claims that would not be paid but for Defendant's unlawful conduct.

        106.    By reason of Defendant's acts, the Indiana State Government has been damaged,

 and continues to be damaged, in a substantial amount to be determined at trial.

        107.    Additionally, the Indiana State Government is entitled to the maximum penalty of

 up to $11,000 for each and every violation alleged herein.

                                SEVENTH CAUSE OF ACTION
                                     Iowa False Claims Act
                                Iowa Code§§ 685.2(a)-(b), and (g)

        108.    Relator repeats and incorporates by reference the allegations contained m

 Paragraphs 1 through 66 of this Complaint as if fully set forth herein.




                                            Page 32of39
Case 3:18-cv-00286-BJB-CHL Document 1 Filed 05/08/18 Page 33 of 39 PageID #: 33




        109.    This is a claim for treble damages and penalties under the Iowa False Claims Act,

 Ind. Code§§ 685.1 et seq.

        110.    By virtue of the acts described above, Defendant knowingly presented or caused

 to be presented, false or fraudulent claims for payment or approval.

        111.    By virtue of the acts described above, Defendant knowingly made, used, or

 caused to be made or used, false records and statements, material to false and fraudulent claims.

        112.    By virtue of the acts described above, Defendant knowingly concealed and

 improperly avoided or decreased an obligation to pay money to the State of Iowa.

        113.    The Iowa State Government, unaware of the falsity of the records, statements, and

 claims made, used, presented, or caused to be made, used, or presented by Defendant, paid and

 continues to pay the claims that would not be paid but for Defendant's unlawful conduct.

        114.    By reason of Defendant's acts, the Iowa State Government has been damaged,

 and continues to be damaged, in a substantial amount to be determined at trial.

        115.    Additionally, the Iowa State Government is entitled to the maximum penalty of

 up to $11,000 for each and every violation alleged herein.

                                 EIGHTH CAUSE OF ACTION
                              Oklahoma Medicaid False Claims Act
                                63 Okla. Stat. §§ 5053.l(B)(l)-(2)

        116.    Relator repeats and incorporates by reference the allegations contained m

 Paragraphs 1 through 66 of this Complaint as if fully set forth herein.

        117.    This is a claim for treble damages and penalties under the Oklahoma Medicaid

 False Claims Act, 63 Okla. Stat.§§ 5051 et seq.

        118.    By virtue of the acts described above, Defendant knowingly presented or caused

 to be presented, false or fraudulent claims for payment or approval.




                                           Page 33of39
Case 3:18-cv-00286-BJB-CHL Document 1 Filed 05/08/18 Page 34 of 39 PageID #: 34




        119.     By virtue of the acts described above, Defendant knowingly made, used, or

 caused to be made or used, false records and statements, material to false and fraudulent claims.

        120.     By virtue of the acts described above, Defendant knowingly concealed and

 improperly avoided or decreased an obligation to pay money to the State of Oklahoma.

        121.     The Oklahoma State Government, unaware of the falsity of the records,

 statements, and claims made, used, presented, or caused to be made, used, or presented by

 Defendant, paid and continues to pay the claims that would not be paid but for Defendant's

 unlawful conduct.

        122.     By reason of Defendant's acts, the Oklahoma State Government has been

 damaged, and continues to be damaged, in a substantial amount to be determined at trial.

        123 .    Additionally, the Oklahoma State Government is entitled to the maximum penalty

 of up to $11 ,000 for each and every violation alleged herein.

                                NINTH CAUSE OF ACTION
                Tennessee Medicaid False Claims Act, Tennessee False Claims Act
                  Tenn. Code Ann.§§ 71-5-182(a)(l)(A)-(B), and (D), 4-18-101

        124.     Relator repeats and incorporates by reference the allegations contained m

 Paragraphs 1 through 66 of this Complaint as if fully set forth herein.

        125.     This is a claim for treble damages and penalties under the Tennessee Medicaid

 False Claims Act, Tenn. Code Ann. §§ 71-5-181 through 71-5-185, and the Tennessee False

 Claims Act, Tenn. Code Ann 4-18-101 et seq.

        126.     By virtue of the acts described above, Defendant knowingly presented or caused

 to be presented, false or fraudulent claims for payment or approval.

        127.     By virtue of the acts described above, Defendant knowingly made, used, or

 caused to be made or used, false records and statements, material to false and fraudulent claims.




                                           Page 34of39
Case 3:18-cv-00286-BJB-CHL Document 1 Filed 05/08/18 Page 35 of 39 PageID #: 35




        128.    By virtue of the acts described above, Defendant knowingly concealed and

 improperly avoided or decreased an obligation to pay money to the State of Tennessee.

        129.    The Tennessee State Government, unaware of the falsity of the records,

 statements, and claims made, used, presented, or caused to be made, used, or presented by

 Defendant, paid and continues to pay the claims that would not be paid but for Defendant's

 unlawful conduct.

        130.    By reason of Defendant's acts, the Tennessee State Government has been

 damaged, and continues to be damaged, in a substantial amount to be determined at trial.

        131 .   Additionally, the Tennessee State Government is entitled to the maximum penalty

 of up to $11 ,000 for each and every violation alleged herein.

                                 TENTH CAUSE OF ACTION
                             Virginia Fraud Against Taxpayers Act
                          Va. Code Ann.§§ 8.01-216.3(a)(l)-(2), and (7)

        132.    Relator repeats and incorporates by reference the allegations contained m

 Paragraphs 1 through 66 of this Complaint as if fully set forth herein.

        133.    This is a claim for treble damages and penalties under the Virginia Fraud Against

 Taxpayers Act, Va. Code Ann.§§ 8.01-216.1 et seq.

        134.    By virtue of the acts described above, Defendant knowingly presented or caused

 to be presented, false or fraudulent claims for payment or approval.

        135.    By virtue of the acts described above, Defendant knowingly made, used, or

 caused to be made or used, false records and statements, material to false and fraudulent claims.

        136.    By virtue of the acts described above, Defendant knowingly concealed and

 improperly avoided or decreased an obligation to pay money to the State of Virginia.

        137.    The Virginia State Government, unaware of the falsity of the records, statements,




                                            Page 35of39
Case 3:18-cv-00286-BJB-CHL Document 1 Filed 05/08/18 Page 36 of 39 PageID #: 36




 and claims made, used, presented, or caused to be made, used, or presented by Defendant, paid

 and continues to pay the claims that would not be paid but for Defendant's unlawful conduct.

        138.    By reason of Defendant's acts, the Virginia State Government has been damaged,

 and continues to be damaged, in a substantial amount to be determined at trial.

        139.    Additionally, the Virginia State Government is entitled to the maximum penalty

 of up to $11 ,000 for each and every violation alleged herein.

                              ELEVENTH CAUSE OF ACTION
                               North Carolina False Claims Act
                            N.C. Gen. Stat. §§ 1-607(a)(l)-(2) and (7)

        140.    Relator repeats and incorporates by reference the allegations contained m

 Paragraphs 1 through 66 of this Complaint as if fully set forth herein.

        141.    This is a claim for treble damages and penalties under the North Carolina False

 Claims Act, N.C. Gen. Stat§§ 1-605 et seq.

        142.    By virtue of the acts described above, Defendant knowingly presented or caused

 to be presented, false or fraudulent claims for payment or approval.

        143.    By virtue of the acts described above, Defendant knowingly made, used, or

 caused to be made or used, false records and statements, material to false and fraudulent claims.

        144.    By virtue of the acts described above, Defendant knowingly concealed and

 improperly avoided or decreased an obligation to pay money to the State of North Carolina.

        145.    The North Carolina State Government, unaware of the falsity of the records,

 statements, and claims made, used, presented, or caused to be made, used, or presented by

 Defendant, paid and continues to pay the claims that would not be paid but for Defendant's

 unlawful conduct.

        146.    By reason of Defendant' s acts, the North Carolina State Government has been




                                           Page 36of39
Case 3:18-cv-00286-BJB-CHL Document 1 Filed 05/08/18 Page 37 of 39 PageID #: 37




 damaged, and continues to be damaged, in a substantial amount to be determined at trial.

        147.    Additionally, the North Carolina State Government is entitled to the maximum

 penalty of up to $11,000 for each and every violation alleged herein.

                               TWELFTH CAUSE OF ACTION
                               Texas False Medicaid Claims Act
                             Tex. Human Res. Code Ann. §§ 36.002

        148.    Relator repeats and incorporates by reference the allegations contained m

 Paragraphs 1 through 66 of this Complaint as if fully set forth herein.

        149.    This is a claim for treble damages and penalties under the Texas False Medicaid

 Claims Act, Tex. Human Res. Code Ann. §§ 36.002 et seq.

        150.    By virtue of the acts described above, Defendant knowingly presented or caused

 to be presented, false or fraudulent claims for payment or approval.

        151.    By virtue of the acts described above, Defendant knowingly made, used, or

 caused to be made or used, false records and statements, material to false and fraudulent claims.

        152.    By virtue of the acts described above, Defendant knowingly concealed and

 improperly avoided or decreased an obligation to pay money to the State of Texas.

         153.   The Texas State Government, unaware of the falsity of the records, statements,

 and claims made, used, presented, or caused to be made, used, or presented by Defendant, paid

 and continues to pay the claims that would not be paid but for Defendant's unlawful conduct.

        154.    By reason of Defendant's acts, the Texas State Government has been damaged,

 and continues to be damaged, in a substantial amount to be determined at trial.

        155.    Additionally, the Texas State Government is entitled to the maximum penalty of

 up to $11,000 for each and every violation alleged herein.

        WHEREFORE, Relator, on behalf of the United States of America, demands judgment




                                            Page 37of39
Case 3:18-cv-00286-BJB-CHL Document 1 Filed 05/08/18 Page 38 of 39 PageID #: 38




 against the Defendants, ordering that:

            a. Pursuant to 31 U.S.C. § 3729(a), Defendants pay an amount equal
               to three times the amount of damages the United States of America
               has sustained because of Defendants' actions, plus a civil penalty
               of not less than $5,500 and not more than $11 ,000 or such other
               penalty as the law may permit and/or require for each violation of
               31 U.S.C. § 3729, et seq;

            b. Relator be awarded the maximum amount allowed pursuant to 31
               U.S.C. §3729(d) of the False Claims Act and/or any other
               applicable provision of law;

            c. Relator be awarded the maximum amount allowed pursuant to 31
               U.S .C. § 3730(h)(2) of the False Claims Act and/or any other
               applicable provision of law;

            d. Relator be awarded the maximum amount allowed pursuant to Cal.
               Stat. 12652(g)(8);

            e. Relator be awarded the maximum amount allowed pursuant to Cal.
               Stat. 12653(b);

            f.   Relator be awarded all costs and expenses of this action, including
                 attorneys ' fees as provided by 31 U.S .C. § 3729(d), 31 U.S.C. §
                 3730(h)(2), Cal. Stat. 12653(b) and any other applicable provision
                 of the law; and,

            g. Relator be awarded such other and further relief as the Court may
               deem to be just and proper.

TRIAL BY JURY IS HEREBY REQUESTED

        Dated this    B~ day of May, 2018.



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                                           Page 38of39
Case 3:18-cv-00286-BJB-CHL Document 1 Filed 05/08/18 Page 39 of 39 PageID #: 39




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                                 Page 39of39
